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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                BRIDGEPORT DIVISION

In Re:                              )                CHAPTER 11
                                    )
HO WAN KWOK, GENEVER                )                CASE NO.: 22-50073 (JAM)
HOLDINGS CORPORATION and            )
GENEVER HOLDINGS LLC                )
____________________________________)
                                    )
PACIFIC ALLIANCE ASIA               )                ADV. PRO. NO.: 22-05032
OPPORTUNITY FUND L.P.,              )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )
                                    )
HO WAN KWOK,                        )                DECEMBER 2, 2022
                                    )
                  Defendant.        )
                  ________          )

      HO WAN KWOK’S OBJECTION TO MOTIONS FOR A PRELIMINARY
   INJUNCTION AND CROSS-MOTION TO VACATE THE NOVEMBER 23, 2022
  ORDER GRATING APPLICATION FOR A TEMPORARY RESTRAINING ORDER

         Ho Wan Kwok, by and through his counsel, respectfully files this objection to the motion

by Plaintiff Pacific Alliance Asia Opportunity Fund L.P. (“Plaintiff” or “PAX”) for a preliminary

injunction (“PAX Motion”) and the motion of Luc A. Despins, as Chapter 11 Trustee appointed

in the Chapter 11 case ( “Trustee” or “Intervenor”, and together with PAX, “Movants”), to

intervene and join PAX’s Motion (“Trustee Motion” and, collectively with PAX Motion, the

“Motions”), and cross-moves to vacate the temporary restraining order (“TRO”) granted by this

Court against Mr. Kwok on November 23, 2022.
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    I.      INTRODUCTION

         Mr. Kwok is an outspoken Chinese dissident who has attracted a large following on

social media through his work, over the last several years, of exposing the widespread corruption

and repression of the Chinese Communist Party (“CCP”) and casting aside the veil of secrecy

that conceals the transgressions of China’s political elite. Plaintiff PAX is an investment fund

managed by a Chinese national and with extensive ties to the Chinese Communist government.

Intervenor, Trustee Despins, is a partner in an international law firm with offices in China and

that represents Chinese government entities.

         Without shame—or, seemingly, a sense of irony—Plaintiff and Intervenor are employing

the very tactics utilized by the Chinese government to suppress speech with which it disagrees 1

and to use “reasonable force” 2 against and imprison those who dare to challenge its authority.

         As a threshold matter, the Complaint fails to even assert a cause of action. As there is no

justiciable claim, this Court lacks jurisdiction to adjudicate this matter or any attendant motions.

The Court should deny the Motions for that reason alone. In any event, Movants have not

pointed to any conduct that warrants imposition of an injunction, let alone the overly broad, far-

reaching restraining order issued by the Court on the night before Thanksgiving. By Movants’

own admission, the protests—whether outside offices or homes—have all been peaceful. They

assert that signs were held, leaflets were distributed, and, on one occasion, traffic allegedly was

blocked. They do not contend, nor can they, that Mr. Kwok participated in any protests, sign-



1
  See, e.g., Myers, Steven L. (Nov. 2., 2021). Shutting Down Historical Debate, China Makes it a
Crime to Mock Heroes. New York Times. Available at
https://www.nytimes.com/2021/11/02/world/asia/china-slander-law.html (last accessed Dec. 2,
2022).
2
  Cf. Trustee’s Motion for Order (I) Authorizing Service of TRO by U.S. Marshal Service at 6
(ECF 34) (asking court to direct Marshals to use “reasonable force” to serve TRO on non-party
protestors).


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holding, or leaflet distribution. Nor have they established—or even alleged—any proof of violent

activity. They downplay and brush aside the fact that on November 20—three days before the

TRO was entered—Mr. Kwok in no uncertain terms publicly stated that he opposed the protests.

Nor do they acknowledge that the Trustee’s motion filed on November 18, 2022, for Rule 2004

examinations of non-party individuals who are part of the Chinese dissident movement, sparked

the protests.

        Instead, they focus on what they believe are false and defamatory statements by others—

not Mr. Kwok—on social media about Plaintiff’s parent’s CEO and the Trustee. They allege that

Mr. Kwok republished some of this speech, effectively acknowledging that Mr. Kwok did not

create the social media messages. But regardless, the Supreme Court has long held that an

“injunction, so far as it imposes prior restraint on speech and publication, constitutes an

impermissible restraint on First Amendment rights.” Organization for a Better Austin v. Keefe,

402 U.S. 415, 419 (1971) (citing Near v. Minnesota, 283 U.S. 697 (1931)). As the Court noted,

“[i]t is elementary, of course, that in a case of this kind the courts do not concern themselves

with the truth or validity of the publication.” Id. Indeed, even where the speech is “intended to

exercise a coercive impact on the respondent [that] does not remove [the speech] from the reach

of the First Amendment.” Id.

        Here in the United States, Mr. Kwok, and others who support his work in exposing

corruption, oppression, and violations of human rights by the Chinese government, have a

constitutional right to speak freely. That Plaintiff and the Trustee are embarrassed or

uncomfortable by speech critical of their actions and associations is not grounds for this Court,

using the full power of government authority, to silence Mr. Kwok or others who are not even

parties to this adversary proceeding.




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         The proposed injunction is also impermissibly vague and overbroad. It seeks to bar the

posting of allegedly false and harassing materials, but there has been no adjudication that any

statement is false or any guideposts for determining what is “harassing.” It also enjoins Mr.

Kwok from interfering in any way with the “integrity” of his Chapter 11 case – but what does

that mean? Is mounting any type of defense or speaking out on what he considers to be an unfair

process “interference?” Is this court filing “interference?”

         The proposed injunction orders Mr. Kwok, without limitation, to remove “all existing

social media posts” that contain “personal information” about the Trustee or the employees or

counsel of PAX and PAG. That seemingly requires him to undertake the impossible task of

removing any online post made by anyone anywhere in the world that contains such information.

And what exactly is “personal” information? Middle names, schools attended, previous

employment, age, marital status, level of wealth, political views? The list is seemingly endless.

And why is any of that “personal” information—most, if not all, of which can be easily found on

the Internet—beyond the bounds of acceptable commentary or discussion in a free society? The

existing TRO is a gross overreach by this Court as would be the preliminary injunction sought by

Movants.

         The Court should, therefore, deny the motion or preliminary injunction in its entirety and

vacate the temporary restraining order.

   II.      BACKGROUND

         Movants provide various details regarding the procedural history of the bankruptcy

proceeding to create a false narrative as to the cause of the protests. But Movants omit key

events, precipitated by the Trustee’s aggressive tactics, that caused numerous non-parties to

become enraged and exercise their constitutionally protected rights to speak out and peacefully

protest. As documented in PAX’s motion, Mr. Kwok has been highly critical of the Trustee


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throughout the summer of this year—as is his right. Mr. Kwok questioned the connections

between the Trustee’s global law firm, Paul Hastings, and various Chinese state-owned

enterprises. Given Mr. Kwok’s work exposing corruption and other misdeeds by the CCP, it was

only natural that he would be suspicious as to why an attorney who is a partner – a part owner –

of a 1,000-attorney firm with substantial business ties to and offices in China would be appointed

to serve as the Trustee in his bankruptcy case. Movants cite social media postings from July that

are critical of the Trustee, but it is not until November 20, 2022, as Movants note, that the

protests about which they complain occurred. Movants omit the key fact that on November 18,

2022, just two days before the protests began, the Trustee filed in the bankruptcy proceeding a

“Motion for 2004 Examination of Additional Legal and Financial Advisors to the Debtor,

Entities and Individuals Affiliated with Debtor, and Relevant Media Companies and Banks

(Second Supplemental Omnibus).” ECF 1116. Included on the list of entities that the Trustee

intended to subpoena were organizations made up of Chinese dissidents who believed the

Trustee’s actions were an attack on them. That prompted the protests. And while Mr. Kwok

agreed that the Trustee’s actions were outrageous, he did not participate in those protests and, in

fact, on November 20, issued the following statement that was disseminated on Twitter 3:




3
 https://twitter.com/himawarimg/status/1594540261593710593?cxt=HHwWgoDQhe76-
KAsAAAA


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                                     The Movants’ Evidence

       Movants first allege that Mr. Kwok “reposted and pinned” on social media website Gettr,

a post by the “Himalaya Global Alliance” that purportedly “originated from a Gettr account

called “NFSC Speaks.” The post urged protests at the home and office of the Trustee and his

family members, and other lawyers and firms in the case. PAX Mot. ¶ 25. But Movants do not

cite to any such posting or reposting. There is no evidence to support this bare allegation.

       Movants do provide a link to a video that allegedly was posted on November 16, 2022 by

“NFSC Speaks.” PAX Mot. ¶ 27. But Mr. Kwok does not make any statements in that video.

Movants claim that he reposted “clips” from the video, but they offer no evidence of what those

clips were. Movants further assert that NFSC is an organization that Mr. Kwok “organized and is

closely associated with him” but they fail to provide any evidence of Mr. Kwok’s role in the

organization or whether he has any control over its operations.



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       On November 18, 2022, the day the Trustee filed his motion to seek subpoenas of many

of Mr. Kwok’s supporters, Movants allege that Mr. Kwok reposted a video that allegedly was an

effort to “intimidate PAX’s counsel[4] and the Trustee.” PAX Mot. ¶ 28. But that video does not

contain any statements from Mr. Kwok and there is no evidence that Mr. Kwok created or

produced the video.

       Movants reference a November 19, 2022 “NFSC Speaks” post that Mr. Kwok allegedly

reposted, but they provide no evidence or even a URL link to support that assertion. PAX Mot. ¶

30. Similarly, they allege that Mr. Kwok reposted certain “NFSC posts,” but they fail to identify

the posts in any manner. Instead, they complain about a comment that was made to one of the

posts by some unidentified third party who uses the Gettr handle, @tongwangdou. They provide

no evidence of any connection between Mr. Kwok and that individual.

       Movants also point to actions of certain protesters—handing out leaflets and holding

signs on public property near the Trustee’s residence (PAX Mot. ¶ 32 (referencing the Trustee’s

filing ECF 1133 in Case No. 22-br-50073))—and assert only that it is “a group of debtor-aligned

protesters.” Id. Again, they fail to point to any evidence that Mr. Kwok participated in or

otherwise directed the protest.

       Finally, Movants point to certain allegedly false statements that Mr. Kwok made in or

around July 2022. PAX Mot. ¶¶ 33-39. But, at most, those statements may be the basis for a

defamation claim for damages. They are not the type of evidence that supports imposition of a

prior restraint on speech.




4
  PAX’s lead counsel is O’Melveny & Myers, a 700-attorney firm with 15 worldwide offices,
three of which are in China.


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           In sum, Movants do not identify or otherwise rely on any direct statements or actions by

Mr. Kwok in seeking this extraordinary relief. Instead, they layer inference upon inference and

omit key evidence to reach their unsupportable conclusion that Mr. Kwok is orchestrating the

activity of others—speaking out and protesting—that are in any event constitutionally protected

activities.

    III.      ARGUMENT

              A. THE COURT LACKS JURISDICTION OVER THIS ADVERSARY
                 PROCEEDING

           Movants’ claims for injunctive relief fail at the courthouse door. Movants have not

alleged any causes of action, much less ones over which a bankruptcy court may exercise

jurisdiction. The adversary proceeding, therefore, must be dismissed in its entirety. Movants

purport to assert two claims for relief: Count I refers to 28 U.S.C. §1651(a) and Count 2 cites 11

U.S.C. § 105(a). These provisions bolster the powers given to federal courts to aid them in

governance over legal proceedings, but neither statute provides for a private right of action.

Movants’ improper reliance upon them is fatal to their claims for relief, injunctive or otherwise.

As the Court lacks subject matter jurisdiction over this matter, the proceeding must be dismissed,

and all pending motions terminated. See Rogers v. LVNV Funding, LLC, 2022 WL 229835 at *2

(E.D.N.Y. June 24, 2022) (“Given their limited role in the judicial system established by our

Constitution, federal courts have a continuing and independent duty to ensure that they possess

subject matter jurisdiction and must dismiss a case—even sua sponte—when they find it

lacking.”).

           Movants’ reliance on federal and state criminal statutes does not cure the problem. None

of the statutory provisions cited or relied upon—18 U.S.C. § 2261A(2), Conn. Gen. Stat. § 53a-

183(a)(3), 18 U.S.C. § 1512(c)(2), 18 U.S.C. § 1507, 18 U.S.C. § 119, and U.S.C. § 1503(a)—


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allows for a private cause of action and therefore none of these statutes support the Court’s

exercise of power under sections 1651(a) and 105(a). Neither PAX nor the Trustee has any rights

under these criminal statutes for which the Court can exercise its powers. The most that can

happen is that any alleged violations of criminal law can be referred to the relevant authorities,

which apparently has already been done.

       The Court’s lack of jurisdiction mandates that the Court dismiss this proceeding,

including the Motions.

           B. PRIOR RESTRAINTS ON FREE SPEECH, SUCH AS THE INJUNCTION
              SOUGHT HERE, VIOLATE THE FIRST AMENDMENT

       As the Supreme Court long ago recognized, “[I]t is the chief purpose of the guaranty [of

the First Amendment] to prevent previous restraints upon publication.” Near v. Minnesota, 283

U.S. 697, 713 (1931). There is a “heavy presumption against [the] constitutional validity” of a

prior restraint, with the burden on the party seeking the prior restraint to overcome that

presumption. N.Y. Times Co. v. United States, 403 U.S. 713, 714 (1971) (per curiam). This

presumption can be overcome “only in ‘exceptional cases.’” CBS, Inc. v. Davis, 510 U.S. 1315,

1317 (1994) (“Davis”) (Blackmun, J., in chambers (quoting Near, 283 U.S. at 716)); see also

CBS, Inc. v. United States Dist. Court, 729 F.2d 1174, 1183 (9th Cir. 1984) (recognizing that

“prior restraints, if permissible at all, are permissible only in the most extraordinary of

circumstances”). Courts must “look at the injunction as we look at a statute, and if upon its face

it abridges rights guaranteed by the First Amendment, it should be struck down.” United Transp.

Union v. State Bar of Mich., 401 U.S. 576, 581 (1971).

       Prior restraints are “the most serious and the least tolerable infringement on First

Amendment rights” because they are “an immediate and irreversible sanction,” not only

“chilling” speech but also “freezing” it, at least for a time. Nebraska Press Assn. v. Stuart, 427



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U.S. 539. 559 (1976). Time and again, the Supreme Court has rejected prior restraints, including

in cases where the claimed justifications included: the Sixth Amendment rights of criminal

defendants, Stuart, 427 U.S. at 570; the protection of confidential or proprietary business

information, Davis, 510 U.S. at 1318; and the protection of military secrets and national security,

N.Y. Times, 403 U.S. at 713 (rejecting a prior restraint preventing publication of the Pentagon

Papers). The reasons proffered by Movants for the injunction and prior restraint they seek—e.g.,

protection of their reputations and avoiding discomfort when facing protesters and being

subjected to name-calling on social media—do not come close to the justifications that were

squarely rejected in these landmark Supreme Court cases. On this basis alone, the Court must

deny the motion for preliminary injunction.

       The instant case is most analogous to Keefe, where local civil rights activists believed

that Keefe’s real estate sales practices were improper, so they began distributing leaflets in

Keefe’s hometown, including to people going to and from Keefe’s church. Some leaflets even

included Keefe’s home phone number, and urged readers to call Keefe and express their

disapproval. The leafletters would do this every few weeks and threatened to continue until

Keefe stopped doing what the leafletters condemned. The Illinois courts enjoined the leafletting,

but the Supreme Court reversed on First Amendment grounds. The Court concluded that even if

the protesters “intended to exercise a coercive impact on the respondent [that] does not remove

[the speech] from the reach of the First Amendment.” 402 U.S. at 419. The Court said,

“Petitioners plainly intended to influence respondent’s conduct by their activities; this is not

fundamentally different from the function of a newspaper.” Id. And the Court held that

“[d]esignating the conduct as an invasion of privacy . . . is not sufficient to support an injunction

against peaceful distribution of [such] informational literature,” when the plaintiff “is not




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attempting to stop the flow of information into his own household, but to the public.” Id. at 419-

20.

       The protests and leafletting here all have been peaceful and while the protesters may be

intending to exercise what the Court called “a coercive impact”—i.e., to pushback against the

Trustee’s aggressive tactics such as noticing subpoenas for many of them—that does not remove

their activities and speech from First Amendment protection. Further, all of the information that

had been disseminated about the Trustee and PAX was obtained from the public record—even

home addresses. There has been no disclosure of private, personal information (such as Social

Security numbers or medical records).

       The injunction sought by Movants is particularly repugnant to the First Amendment

because it is not narrowly tailored but instead significantly overbroad. For example:

       -   It enjoins speech on issues not necessary to accomplish the stated goal of protecting

           the safety of the Trustee and his family and counsel (e.g., prohibits unspecified

           “false” materials about them);

       -   It enjoins the constitutional rights of an unspecified and potentially limitless group of

           publishers. PAX Mot. at 2 (Mr. Kwok, Genever BVI, Genever Holdings LLC, and

           Mr. Kwok’s “officers, agents, servants, employees, and attorneys, and other persons

           in active concert or participation with the foregoing…”) 5 (emphasis added); and

       -   The determination as to who is subject to the preliminary injunction appears to be left

           up to the Trustee and PAX (e.g., anyone who says anything they don’t like).




5
 By its terms, the injunction would seemingly apply to a random person who happened to be
passing by a protest, agreed with what the protesters were saying, and decided to exercise her
First Amendment rights and join them.


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    A preliminary injunction is also unnecessary. Since Movants filed their papers, Mr. Kwok

has relinquished ownership of the shared Gettr account from which the challenged statements

were made. He has removed posts that contained challenged statements from social media that is

within his possession, custody, or control. He has not posted or reposted any information

concerning the Trustee, his family, or other participants in this case. And he has no plans to, even

though he has a constitutional right to do so.

            C. MOVANTS FAIL TO MEET THE EXTRAORDINARY BURDEN OF
               PROOF NECESSARY TO IMPOSE AN INJUNCTION ON SPEECH AND
               RIGHT OF ASSEMBLY 6

        The imposition of a preliminary injunction on any type of behavior is “an extraordinary

and drastic remedy never awarded as of right.” Winter v. Nat. Res. Defense Council, Inc., 555

U.S. 7, 24 (2008) (citing Munaf v. Geren, 553 U.S. 674, 689-690 (2008)). A preliminary

injunction “should not be granted unless the movant, by a clear showing, carries the burden of

persuasion” that: (1) he or she will suffer irreparable harm absent injunctive relief, and (2) either

(a) that he or she is likely to succeed on the merits, or (b) that there are sufficiently serious

questions going to the merits to make them a fair ground for litigation, and that the balance of

hardships tips decidedly in favor of the moving party. Moore v. Consol. Edison Co. of N.Y., Inc.,

409 F.3d 506, 510 (2d Cir. 2005). Courts must also consider whether the injunction is in the

public interest. Winter v. Nat. Resources Defense Council, Inc., 555 U.S. 7, 20 (2008).




6
  Mr. Kwok maintains that this proceeding and all related pending motions must be dismissed for
lack of subject matter jurisdiction. Nonetheless, he proffers this objection to the Motions in
compliance with this Court’s December 1, 2022 order directing that any objection to the Motions
be filed by Noon on December 2, 2022. In doing so, Mr. Kwok does not waive his objections to
this Court’s jurisdiction over the claims and his right to seek dismissal of the entire proceeding
on those grounds.


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       For the reasons set forth below, Movants’ allegations and proffered evidence do not make

the required clear showing—even if, as Movants allege, their burden is nothing more than a

frog’s hair above fifty percent. PAX Mot. ¶ 45.

                     1. Movants Fail to Make the Requisite Clear Showing That They Are
                        Likely to Succeed on the Merits of Their Claims.

       As an initial matter, absent a valid cause of action and subject matter jurisdiction over the

proceeding, there are no merits on which Movants may be likely succeed. Movants, undeterred

by their lack of a valid cause of action, nonetheless allege that they are likely to succeed on the

“merits” of whatever it is that they have alleged by the simple, but wrong, equation: because

federal bankruptcy courts have the power to issue injunctions, and have in the past issued

injunctions (albeit in very different circumstances that undermine the holdings’ application here),

and because they feel that Mr. Kwok is harassing them (ignoring that they present no evidence

that Mr. Kwok is responsible for the alleged harassment) in a manner that may impact this

proceeding (though they proffer no plausible way in which it could), Movants assert that they are

likely to succeed.

       Movants arguments fail for numerous reasons, not the least of which is because they rely

on a misapplication of the law—that Movants have private rights under §§ 1651(a) and 105(a)—

and the First Amendment. Movants claims, moreover, are nothing more than run-of-the-mill

defamation masquerading as harassment and alleged interference with judicial process. As there

has been no adjudication that anything is false and defamatory (nor could there be in this Court)

or any that such speech was made with knowledge that it was false or reckless disregard for its

truth or falsity, the Court cannot enjoin the speech of Mr. Kwok and others to redress an alleged

defamation wrong, for which the only remedy is damages.




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               Sections 1651(a) and 105(a) Do Not Entitle Movants to Relief.

        Movants argue that Mr. Kwok is utilizing social media in a manner that is harassing and

presents a threat to the rule of law and orderly administration of this adversary proceeding, thus

entitling them to relief under either § 1651(a) or § 105(a). But, as Movants admit and is

discussed above in Section II, Mr. Kwok did not make most of the statements and or engage in

the behavior upon which they assert a right to relief, and Movants have not provided evidence

sufficient to impute them to him. Their Motions makes little of a meaningful connection between

Mr. Kwok and the speakers. They simply lump all complained-of behavior together and assign it

to Mr. Kwok because, allegedly, he “is closely associated” with “NFSC Speaks” 7 and

supposedly exerts “considerable influence amongst his audience.” PAX Mot. ¶¶ 27 and 43,

respectively. Notably, the persons whose behavior forms the basis for the preliminary injunction

and the TRO have themselves denied Mr. Kwok’s alleged involvement with their posts and

protests. 8

        Importantly, as set forth in more detail below, the conduct for which Movants complain

does not rise to the level of harassment or threats that could warrant the imposition of the

extraordinary and constitutionally-offensive remedy that they seek. 9 Movants assert that the very




7
  Mr. Kwok does not dispute that he was one of the organizers of NFSC but that fact alone is not
sufficient to establish that he exerts any control today—specifically that he directs or controls the
posts to NFSC’s social media—sufficient to impute them to Mr. Kwok.
8
  See, e.g., November 27, 2022 video from Instagram account from handle @tuding123 at
https://www.instagram.com/p/CldV4s-pMfL/?hl=en (protesters stating that they are not
protesting on behalf of Mr. Kwok).
9
  As previously stated, even though the information regarding family members and home
addresses is all public information. Mr. Kwok never personally posted, or advocated that others
post, information about the families or protest at home addresses; he is not currently doing so
and he has no plans to do so. Accordingly, he is willing to enter into a stipulation stating he
would not
    1. Publish online:


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fact that they feel harassed by statements that may be—but most likely are not—defamatory will

subvert the Trustee’s and the Court’s administration of this estate and PAX’s ability to

participate. The notion that they will cease to be able to perform their roles in this proceeding

absent protection from being called “garbage lawyers” and “evil” “scumbags” is absurd, and

Movants present no evidence to support it. It is, in fact, far more reasonable to assume that the

statements will have no bearing on the Trustee’s resolve to fiercely identify and take control of

Mr. Kwok’s alleged assets or PAX’s determination to take its share. The Trustee and PAG’s

CEO have not achieved their professional success by taking offense to every slight and criticism

served up by their opponents. They must, as does everyone else, suffer the slings and arrows of

negative publicity or pursue the appropriate remedy at law, a claim for defamation (if it is

warranted).

        Movants’ argument is further undermined because, as they admit, Mr. Kwok has actively

taken steps to remove posts and to dissuade those actors whom Movants find “harassing.” While

they attempt to downplay Mr. Kwok’s subsequent actions as a “self-serving attempt to sanitize

his wrongful conduct” (PAX Mot. n. 86), they cannot have it both ways—that Mr. Kwok exerts

influence and control to incite his organizations and followers to attack Movants, but he is not to



            a. home addresses, personal telephone numbers of the Trustee and his immediate
                family members (including known ex-spouses);
            b. Home addresses, personal telephone numbers of Shan Weijian, PAG’s Chairman
                and his immediate family members (including known ex-spouses);
            c. Home addresses, personal telephone numbers of counsel for the Trustee, counsel
                for PAX, or their family members (including known ex-spouses);
   2.   Identify the Trustee’s children and ex-wife and reference them in commentary;
   3.   Identify Weijian's children and spouse (and, if applicable, ex-spouse) and reference them
        in commentary;
   4.   Encourage or support protests at the homes of the Trustee, his immediate family
        members, Weijian, and his immediate family members, including known ex-spouses; and
   5.   Threaten or encourage others to threaten the safety of the Trustee, Weijian, their counsel,
        or their respective immediate family members (including known ex-spouses).


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be credited when he advocates against the conduct that Movants seek to control. Their claim that

Mr. Kwok’s comments were “self-serving” is inadmissible speculation as to their adversary’s

motive. PAX Mot. n. 86.

       Movants’ legal interpretation of § 1651(a) as a catchall provision that the Court may use

to enter any form of relief that it sees fit is, likewise, flawed and inconsistent with the law,

including those cases relied upon in the Motions. To the contrary, the statute serves as a

“procedural instrument designed to achieve the rational ends of law” by enabling courts to issue

“writs that are not otherwise covered by statute.” In the Matter of Anthony A. Stabile and Stephen

E. Saracco, 436 F. Supp. 2d 406, 413-14 (E.D.N.Y. 2006) (emphasis added). Here, there is an

adequate remedy in the form of a common-law claim for defamation.

       The cases cited by Movants stand merely for the proposition that federal courts may issue

preliminary injunctions. They offer little support for the argument that the Court can and should

issue a preliminary injunction here. That a federal court is empowered to issue preliminary

injunctions is not in dispute. The conditions on which they may do so is. Movants’ cases do not

help them, and in fact support that §1651(a) was not designed to apply under the circumstances

presented here. For example, in Off. Comm. of Equity Sec. Holders v. Wilson Law Firm (In re

Mirant Corp.), 334 B.R. 787, 795 (Bankr. N.D. Tex. 2005), S.E.C. v. Am. Bd. of Trade, Inc., 830

F.2d 431, 442 (2d Cir. 1987), and Matter of W. T. Grant Co., 6 B.R. at 764, 767, creditors

communicated with fellow creditors for the purposes of influencing their support against a

proposed settlement and reorganization plan. In each case, there was clear intent to influence the

respective proceedings. The courts, moreover, deemed those communications commercial




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speech, 10 which is afforded less protection by the First Amendment than ordinary speech, like

the statements at issue in this case which are to be afforded the full protection of the First

Amendment. In re Mirant additionally involved a fiduciary relationship where the speaker being

enjoined, an attorney, served as the representative of the class of shareholders, thus placing on

him the duty to deal fairly and honestly with members of the class and empowering the court to

take additional actions to ensure that he did. Mr. Kwok is not a fiduciary; he is an individual

debtor acting in his own capacity. And, in fact, the court in In re Mirant actually noted that it

would not be able to “exercise control over the expression of opinion or purported statements of

fact by a shareholder acting in his own right.” 334 B.R. at 794 (emphasis added). Mr. Kwok

who, to the extent that he made any of the statements alleged in the Complaint and Motions, did

not send them to any other party, or even a potential party, creditor, or witness, was clearly

acting in his own right. The complained-of statements were published to the public at large. They

are neither commercial speech nor do they seek to or have any direct or indirect influence on

these proceedings.

       The challenged commentary in some instances exposes the relationship between Movants

and the CCP and opines that the Trustee’s and his firm’s work on behalf of companies with

known affiliation to the CCP—which the Trustee does not and cannot dispute—is part and parcel

with the corruption of the CCP. This commentary originated when the Trustee was first

appointed, and is undoubtedly newsworthy. 11 It bears no resemblance to the speech enjoined in

cases cited by Movants, such as In re Mirant (enjoining solicitation materials prepared by




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   Commercial speech is speech that proposes a commercial transaction. See Central Hudson Gas
& Elec. v. Public Svc. Comm’n, 447 U.S. 557, 562 (1980).
11
   See, e.g., https://news.bloomberglaw.com/bankruptcy-law/chinese-exile-guo-says-bankruptcy-
trustee-is-conflicted.


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attorney and class representative to shareholders seeking to persuade them to reject the proposed

Chapter 11 plan and which the court determined contained numerous false and misleading

statements), Am. Bd. of Trade (enjoining bulletins sent directly to creditors misleading them as to

the financial condition of debtor), or W.T. Grant (enjoining written communications from

dissenting debentureholder directly to other debentureholders seeking to influence their support

in settlement negotiations). 12 Other cases relied upon by Movants are also distinguishable. In re

Stabile, 436 F. Supp. 2d 406, 415 (E.D.N.Y. 2006), involved direct communication with the

court-appointed monitor, and Houghtaling v. Eaton, 559 F. Supp. 3d 164, 172 (W.D.N.Y. 2021),

concerned frivolous court filings by a pro se litigant—which the court declined to enjoin. 13

Neither provides support for the relief sought here. It is not surprising that Movants are unable to

cite a single case that is directly on point—civil litigants are simply not permitted to obtain

restraints on speech without first establishing that the speech runs afoul of the First Amendment.

           Movants are Not Likely to Succeed on Their True Claim: Defamation.

       Despite what they choose to call it, the Motions plainly seek a remedy for statements that

Movants believe to be false and defamatory. They may not do so. Nor would this Court have

jurisdiction over a claim for defamation, if one could be brought. Defamation is a common-law

claim that is beyond the jurisdiction of this bankruptcy court. Stern v. Marshall, 564 U.S. 462



12
   In re Fustolo, 2015 WL 411760 (Bankr. D. Mass. Jan. 30, 2015), an unreported Massachusetts
case relied upon by Movants despite that it is not binding on this Court, is also inapposite as
plaintiffs there relied upon a valid cause of action that may have entitled them to relief. Movants
do not. Fustolo, notably, and ironically, was reversed for lack of jurisdiction, the same issue
faced here. See PAX Mot. n. 81.
13
   Movants likewise cite to Century Indemn. Co. v. Kosnoff, and rely on its holding for nearly
two pages of the PAX Motion. The holding, which is not binding on this court, is, as noted in the
transcript, under seal. PAX’s counsel, who served as counsel to Century Indemnity in the matter,
appears to be relying on personal knowledge and documents in the matter to assert its relevance
here. As neither Mr. Kwok nor the Court can meaningfully review the holding, it must be
disregarded for the purposes of resolving the Motions.


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(2011) (holding that the bankruptcy court lacked constitutional authority to enter a final

judgment on a defamation claim); see also 28 U.S.C. § 157 (b)(5) (“The district court shall order

that personal injury tort and wrongful death claims shall be tried in the district court in which the

bankruptcy case is pending, or in the district court in the district in which the claim arose, as

determined by the district court in which the bankruptcy case is pending.”) (relied on by

Movants, PAX Mot. ¶ 5).

       Moreover, a defamation claim by Movants brought in this court would be highly unlikely

to succeed on the merits. A claim for defamation typically requires a plaintiff to show: (1) a false

and defamatory statement about the plaintiff, (2) published to a third party without privilege or

authorization, (3) with fault of at least negligence, 14 and (4) special damages or per se

actionability. See, e.g., Celle v. Filipino Reporter Ent., Inc., 209 F.3d 163 (2d Cir. 2000). To

succeed on a claim, the plaintiff bears the burden of proving that the statements are false. See,

e.g., Leidig v. BuzzFeed, Inc., 371 F. Supp. 3d 134, 143 (S.D.N.Y. 2019) (“Despite the truth

often being framed as a defense to libel, the burden of proving the falsity of a statement rests

with the plaintiff.”). Statements of opinion and hyperbole are non-actionable, protected speech.

Mann v. Abel, 10 N.Y. 3d 271, 276 (2008) (“Expressions of opinion, as opposed to assertions of

fact, are deemed privileged and, no matter how offensive, cannot be the subject of an action for

defamation.”).

       Movants seek injunctive relief because Mr. Kwok allegedly published, or is allegedly

responsible for publishing, statements calling them, among other things, “spies,” “thieves,”

“scumbags,” and “garbage lawyers,” and accusing them of funneling money to and deriving



14
  In the case of public officials and public figures, like Movants, they would need to prove that
the statements were made with actual malice—that is, with knowledge or falsity or reckless
disregard for the truth or falsity. New York Times Co. v Sullivan, 376 U.S. 254 (1964).


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income from entities affiliated with the CCP, which, in turn, uses its resources to persecute the

Chinese people. PAX Mot. ¶¶ 33-38. These statements are unflattering, but no interpretation of

the law supports infringing on the freedom of speech to protect a party from name-calling and

bad publicity. And, as noted above, Movants do not deny that they provide legal and financial

resources to entities affiliated with the Chinese government, and that Movants get paid for that

work. That the CCP uses its money and resources to oppress opponents of its power is also not in

dispute. Movants claim that drawing the connection that the two are related is defamatory, but

these statements are classic examples of protected opinion.

       Movants are not entitled to an end-run the judicial process governing defamation claims.

Absent adjudication of the alleged falsity and defamatory nature of the commentary, the speech

at issue may not be restrained.

       Movants cannot succeed on the merits of any underlying claim.

                   2. Movants Fail to Make the Requisite Clear Showing That They Are
                      Likely to Suffer Irreparable Harm.

       It is well-established in this Circuit that “[a] showing of irreparable harm is the single

most important prerequisite for the issuance of a preliminary injunction.” Faiveley Transport

Malmo AB v. Wabtex Corp., 559 F.3d 110, 1189 (2d Cir. 2000) (emphasis added) (citing

Rodriguez v. DeBuono, 175 F.3d 227, 234 (2d Cir. 1999)). “On a motion for preliminary

injunction, ‘irreparable injury’ is an injury that is not remote or speculative but actual and

imminent, and for which a monetary award cannot be adequate compensation.” Dexter 345 Inc.

v. Cuomo, 663 F.3d 59, 63 (2d Cir .2011) (citing Tom Doherty Assocs. v. Saban Entertainment,

Inc., 60 F.3d 27, 37 (2d Cir.1995) (quoting Jackson Dairy, Inc. v. H.P. Hood & Sons, Inc., 596

F.2d 70, 72 (2d Cir.1979)). In the absence of evidence that the party seeking an injunction will

be irreparably harmed unless the injunctive relief is granted, the application must be denied. See



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Faiveley, 559 F3d at 119-120 (vacating preliminary injunction where both plaintiff and district

court failed to point to any evidentiary support for conclusion that plaintiff would be irreparably

harmed unless defendant was enjoined and speculation was not an appropriate basis for entry of

a preliminary injunction).

       Movants allege that (i) they will continue to fear for their physical safety and potentially

suffer physical harm; (ii) that the statements may interference with the Trustee’s focus and

ability to pursue estate assets; and (iii) that the statements will scare away other whistleblowers

and witnesses that might seek to assist the Trustee. None of these alleged harms constitutes

“irreparable harm.”

       Movants take significant pains to trump up the alleged egregiousness of the commentary

about them and the potential repercussions, labeling it “outrageous baseless and vexatious

attacks” and “online bullying and smear campaigns” that are “maligning, defaming, doxing, and

harassing” Movants. PAX Mot. ¶¶ 1 and 27. And all this, allegedly, was masterminded and

carried out by Mr. Kwok. But none of this constitutes irreparable harm. If it did, there would be

no end to the number of injunctions that courts would be issuing daily for the commentary

prominent and even ordinary individuals endure. Indeed, the only legal remedy for allegedly

false and defamatory statements that may inflict emotional distress is monetary damages.

       The November 16, 2022 video, for example, is a thirty-six-minute video that investigates

and exposes PAX and the Trustee’s relationships with the CCP. The speakers present facts from

public records including prominent news outlets and Paul Hastings’s own website, and draw

conclusions based on those disclosed facts. 15 Other statements that Movants challenge include




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  In its closing minutes the video urges protests and repeatedly makes clear that the urged
protests are to be peaceful.


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that they are “spies,” “thieves,” “scumbags,” and “garbage lawyers,” and are funneling money to

and deriving income from the CCP, which in turn uses its resources to persecute the Chinese

people. PAX Mot. ¶ 33-38. Even if Movants could somehow show that Mr. Kwok is responsible

for the video and the statements—which they cannot—this is not comparable to the irreparable

harm suffered by those in the cases relied upon by the Movants. See Doe v. Ct. Dep’t of Public

Safety (being listed on a public sex offender website without due process), Jolly v. Coughlin

(being solitarily confined for refusing to submit to a tuberculosis test), and Shapiro v. Cadman

Towners, Inc. (tenant being denied a parking spot despite having multiple sclerosis and being at

risk of falling and serious injury).

        PAX and the Trustee may, understandably, wish that these statements were not made

public, and that the nature of their business affairs were left private, but they are not entitled to

the extraordinary relief of enjoining the freedom of speech of not only Mr. Kwok but numerous

others to shield themselves from hurt feelings and public backlash for undisputed connections to

the Chinese government. Movants have not met their burden to show that they, or their family or

counsel, are likely to suffer irreparable harm if the Court does not grant the preliminary

injunction.

        Nor, as Movants assert, is there irreparable harm because the commentary at issue

allegedly threatens to undermine the judicial process in this case. Movants suggest that they

cannot carry out their roles as trustee and creditor in the face of public criticism and protests. If

anything, that says more about their competence and whether they belong in these roles than

anything else. Protests happen every day and yet others are able to conduct their affairs. Public

officials are under constant criticism and scrutiny, and yet they are able to conduct their affairs.

Ironically, it was the Trustee’s own actions in the case—seeking to serve subpoenas on non-




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parties involved in the Chinese dissident movement—that prompted the protests. To the extent

the judicial process is purportedly being “undermined” and irreparably harmed, it is the Trustee’s

own doing.

       Finally, Movants have constantly attacked Mr. Kwok and accused him of improper

conduct, which is also defamatory. Their most recent filings—including the Motion for

Contempt filed on November 30—accuse Mr. Kwok of repeatedly violating the TRO when they

have no evidence that Mr. Kwok was personally responsible for any of the posts or conduct over

which they complain. They make these accusations without evidence. The Trustee on

Wednesday informed counsel for Mr. Kwok that he had been served with a subpoena to testify at

the hearing on Friday. That was false. As confirmed by the Trustee’s counsel when challenged

on that assertion, service had been attempted but it was never effectuated on Mr. Kwok. To the

extent there is any harm in the judicial process, it is the Trustee’s own doing.

       In sum, Movants have not shown that either they or the administration of the estate are

likely to suffer irreparable injury absent a preliminary injunction.

                   3. Movants Fail to Make the Requisite Clear Showing That the Balance
                      of Hardships Tips in Their Favor.

       After a plaintiff has made a clear showing both that it is likely to succeed on the merits,

and that irreparable harm is likely to occur unless injunctive relief is granted, it must show that

the balance of equities (or hardships) tips in its favor. Winter, 555 U.S. at 26. That is, “as

compared to the hardship suffered by the other party if the preliminary injunction is granted, the

hardship suffered by the moving party if the preliminary injunction is denied will be so much

greater that it may be characterized as a real hardship, such as being driven out of business

before a trial could be held.” Ass’n of Jewish Camp Operators v. Cuomo, 470 F. Supp. 3d 197,

201 (N.D.N.Y. 2020). More than a general balance, the hardships must tip “decidedly” in favor



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of the party requesting relief. Citigroup Global Markets, Inc. v. VCG Special Opp. Master Fund

Ltd., 598 F.3 30, 35 (2d Cir. 2010).

        The Motions allege that the balance of hardships tips in Movants’ favor because “Debtor

will suffer no hardship if the injunction is granted.” PAX Mot. ¶ 58. Movants are dead wrong. As

discussed above, freedom of speech under the First Amendment is not a throwaway, it is a core

American value. Every minute that one is enjoined from speaking is an infringement of First

Amendment rights. Infringing those rights in even a small way is intolerable. The injunction, if

granted, would not just infringe upon Mr. Kwok’s First Amendment rights, but the rights of

untold others. Mr. Kwok is a leading whistleblower against the CCP. Silencing him from

speaking on those issues is the definition of harm. Damage would be guaranteed.

        While Mr. Kwok undoubtedly will suffer hardship, the imposition of an injunction will

not necessarily lessen any alleged hardship for Movants. Neither the Court nor Mr. Kwok can

control everyone in the world. Others can make the same statements about the Trustee and PAX

upon which they complain regardless of what this Court does. The Court also may not credit the

speculative claims by Movants of alleged harm—it must rely on specific evidence. See Winter,

555 U.S. 7 (affirming rejection of preliminary injunction where lower court failed to rely on

specific evidence presented on impact to enjoined in favor of speculative concerns raised by

plaintiffs).

                   4. Movants Fail to Make the Requisite Clear Showing That the Public
                      Interest Will Not be Disserved by the Issuance of an Injunction.

        “In exercising their sound discretion, courts of equity should pay particular regard for the

public consequences in employing the extraordinary remedy of injunction.” Winter, 555 U.S. at

24. Here, it is undoubtedly in the public interest for this Court to respect the First Amendment

and not restrain freedom of speech. This is especially true where the party being restrained is a



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Chinese dissident who had to flee China and seek sanctuary in the United States due to the

Chinese government’s attempts to punish him for his speech.

       An injunction may provide Movants with leverage in this proceeding against Mr. Kwok,

but that is not a public interest—at least not in America. Indeed, the main interests served by the

injunction are the private interests for the Movants to be free from possibly annoying protests

and references to their connections with the Chinese government.

           D. CROSS MOTION TO VACATE TEMPORARY RESTRAINING ORDER

       For all of the reasons discussed above, incorporated herein by reference, the Court should

vacate the Temporary Restraining order entered at 6:00 p.m. on November 23, 2022. The

standards for a restraining order and preliminary injunction are identical. The Court lacks

jurisdiction to entertain the motion, Movants have not met their burden for obtaining such an

extraordinary remedy, and the TRO, as entered, is impermissibly overbroad. Accordingly, the

Court should vacate the TRO immediately.




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   IV.      CONCLUSION

         For the foregoing reasons, Mr. Kwok respectfully requests that the Court deny the

Movants’ request for a preliminary injunction and vacate the temporary restraining order issued

on November 23, 2022. In light of Movants’ failure to state a cause of action, the Court should

dismiss the entire adversary proceeding.


                                              DEFENDANT
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